Case 2:13-cr-02861-RB Document 150 Filed 12/08/16 Page 1 of 1

 

 

 

 

 

 

 

 

 

 

 

QPROB 22 DOCKET NUMBER (.Tran. Court)
(Rev. 2/88)
2113CR0286l-002RB
DoCKET NUMBER . C
TRANSFER oF JURISDICTION (R"” "“’”
NAME AND ADDREss oF PRoBATloNER/sUPERvISED RELEASEE DISTRICT DIvlsloN
New Mexico
NAME oF sENTENCING IUDGE
Danielle McKee Robert C. Brack, United States District Judge
DATES oF PRoBArloN/ FRoM ro
sUPERvIsED RELEASE
08/19/2016 08/18/2019
oFr-ENSE

Ct. l: Conspiracy to Distribute a Mixture and Substance Containing a Detectable Arnount of
Metharnphetalnine, in violation of 21 U.S.C. § 846

Cts. 2 & 3: Distribution of a Mixture and Substance Containing a Detectable Amount of Metharnphetamine, in
violation onl U.S.C. § 84l(b)(1)(C)

 

PART l - ORDER TRANSFERRING JURISDICTION

 

UNI'I`ED STATES DISTRICT COURT FOR THE DISTRICT OF New Mexico

 

IT IS HEREBY ORDERED that, pursuant to 18 U.S.C. 3605, the jurisdiction of the probationer or
or supervised release named above be transferred With the records of this Court to the United States
District Court for the District of Arizona- Tucson Division upon that Court’s order
of acceptance ofjurisdiction. This Court hereby expressly consents that the period of probation or
supervised release may be changed by the District Court to Which this transfer is made Without
further inquiry of this court.*

 

¢M_ /%»//%l

Date Uniled StMistrict Judge

 

*This sentence may be deleted in the discretion of the transferring Court.

 

PART 2 - ORDER ACCEPTING JURISDICTION

 

UNI'I`ED STATES DISTRIC'I` COURT FOR THE DISTRICT OF Arizona- Tucson

 

 

IT IS HEREBY ORDERED that jurisdiction over the above-named probationer/supervised
releasee be accepted and assumed by this Court from and after the entry of this order.

 

 

Effective Date Um'ted Stales District Judge

 

 

